Case 2:20-cv-02679-GGG-KWR Document 33 Filed 04/21/21 Page 1of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.
VERSUS

THE ADMINISTRATORS OF THE
TULANE EDUCATIONAL FUND

* CIVIL ACTION
* NO. 2:20-cv-2679
* JUDGE GREG GERARD GUIDRY

* MAGISTRATE KAREN WELLS ROBY

MOTION TO REMOVE COUNSEL

NOW INTO COURT, through undersigned counsel, comes Princess Dennar, M.D., who

requests that Abigail F. Gerrity (35777) be removed as counsel of record for Princess Dennar, M.D.,

in these proceedings. Undersigned counsel submits that this removal of counsel will not delay any

scheduled matters or deadlines.

Respectfully submitted,

LOWE, STEIN, HOFFMAN, ALLWEISS
& HAUVER, L.L.P.

[os] Michael R. Ahkweiss
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Attorneys for Princess Dennar, M.D.

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing pleading has been served on all counsel of record
to this proceeding accepting service electronically via the CM/ECF or by hand delivery, fax, Federal
Express, email, or U.S. Mail, postage prepaid and properly addressed to those who are not, on this

21* day of April, 2021.

00610460.WPD; 1

[s| Michael R. Ahweiss
MICHAEL R. ALLWEISS

